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                        CLERK, U.3. DISTRICT COURT

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  2                         4CT~0~
                    CEhTigAl DISTRICT OF C~UFORN'A
  3                 EgSTERN DIVISION      BY DEPUTY


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  8                             UNITED STATES DISTRICT COURT
  9                           CENTRAL DISTRICT OF CALIFORNIA
 10
      ~ UNITED STATES OF AMERICA,                         CaseNo.: ~]~C(Zlq -obo~tl -S~g
 11
                            Plaintiff,                    ORDER OF DETENTION PENDING
 12                                                       FURTHER REVOCATION
                   V.               4                     PROCEEDINGS
 13                                                        FED. R. CRIM.P. 32.1(a)(6); 18
                                                            .S.C. § 3143(a)(1))
 14                 P
                             Defendant.
 15
 16         The defendant having been arrested in this District pursuant to a warrant
 17 issued by the United States District Court for the ~~r~~ ~       District of
 18   ~~~'~`^'~`~ for alleged violations) of the terms and conditions of probation
 19 ~ or supervised release; and
20          Having conducted a detention hearing pursuant to Federal Rule of Criminal
21 Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a)(1), the Court finds that:
22 A. (~       The defendant has not met his/her burden of establishing by clear and
23             convincing evidence that he/she is not likely to flee ifreleased under 18
24             U.S.C. § 3142(b) or (c). This finding is based on the following:
25            (~        information in the Pretrial Services Report and Recommendation
26            (~        information in the violation petition and reports)
27            (
              ~         the defendant's nonobjection to detention at this time
28            () other:


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     1        and/ or
  2 B.(~      The defendant has not met his/her burden of establishing by clear and
  3           convincing evidence that he/she is not likely to pose a danger to the
 4            safety of any other person.or the community if released under 18 U.S.C.
  5           § 3142(b) or (c). This finding is based on the following:
 6           (~     information in the Pretrial Services Report and Recommendation
 7           (~     information in the violation petition and reports)
 8           (~     the defendant's nonobjection to detention at this time
 9           () other:
10
1 1 IT THEREFORE IS ORDERED that the defendant be detained pending the
                                                                                  further
12 revocation proceedings.
13
                         2~
14 Dated: 0 c-~10~ 2~i ~
15                                               United States Magistrate Judge
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